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                             UNITED STATES BANKRUPTCY COURT                         Pg 1 of 47
                                                                                                                                    VOLUNTARY PETITION
                                 Southern  District
                                    __________       of of
                                               District New   York
                                                           __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
 Kemsley, Paul, Zeital
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                               (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
 34 Leonard Street, Apt. 4
 New York, New York
                                                                    ZIP CODE 10013                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
 England
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                  ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                        ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                             Chapter 7           ✔      Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                             Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                     ✔     Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                         Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                  (Check one box.)
  England                                                                                                                Debts are primarily consumer ✔ Debts are
                                                                          Debtor is a tax-exempt organization            debts, defined in 11 U.S.C.        primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States            § 101(8) as “incurred by an        business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).              individual primarily for a
  England                                                                                                                personal, family, or
                                                                                                                         household purpose.”
                                Filing Fee (Check one box.)                                                                  Chapter 11 Debtors
                                                                                              Check one box:
 ✔      Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                                                                                                             COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-         25,001-          50,001-           Over
                                                           5,000           10,000         25,000          50,000           100,000           100,000

 Estimated Assets
                                                            ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                                million    million         million        million         million
 Estimated Liabilities
                                                                           ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                                million    million         million        million         million
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 Voluntary Petition                                                        Pg 2 ofName 47of Debtor(s):
 (This page must be completed and filed in every case.)
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:

 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

              ✔        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                                                Pg 3 of 47of Debtor(s):
                                                                                        Name
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.                                             ✔    I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X                                                                                           X     /s/ Mark Fry
      Signature of Debtor                                                                         (Signature of Foreign Representative)

 X                                                                                                 Mark Fry
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)                                            08/21/2012
                                                                                                  Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X     /s/ Edward E. Neiger                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       Edward E. Neiger                                                                      provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Neiger LLP                                                                            guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
       151 West 46th Street, New York, NY 10036                                              or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                             attached.
      Address
       212-267-7342
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       08/21/2012
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the information           partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 in the schedules is incorrect.

                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true        Address
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.
                                                                                             X
 The debtor requests the relief in accordance with the chapter of title 11, United States         Signature
 Code, specified in this petition.

 X                                                                                                Date
      Signature of Authorized Individual
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                  partner whose Social-Security number is provided above.

      Title of Authorized Individual                                                         Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                             in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                             individual.

                                                                                             If more than one person prepared this document, attach additional sheets conforming
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.




                Reset                                                                                                Save As...                             Print
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4th Floor
New York, NY 10036
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eneiger@neigerllp.com
mudem@neigerllp.com

Attorneys for Mark R. Fry,
as Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                              Case No: - __-_____

PAUL ZEITAL KEMSLEY,                               Chapter 15

               Debtor.


                   SUPPLEMENT TO PETITION FOR RECOGNITION
                          OF A FOREIGN PROCEEDING

        Mark R. Fry (hereafter the “Foreign Representative”) the duly appointed Joint Trustee in

Bankruptcy in the bankruptcy proceeding of Paul Zeital Kemsley (“Kemsley” or the “Debtor”)

pursuant to the British Bankruptcy Law by and through his undersigned counsel, hereby files this

petition for recognition of a foreign proceeding pursuant to section 1515 of Title 11 of the United

States Code (the “Bankruptcy Code”) to commence a case ancillary to a foreign proceeding.

Contemporaneously herewith, the Foreign Representative has filed a Petition for Recognition of

a Foreign Proceeding (Official Form 1) requesting relief pursuant to Chapter 15 of the

Bankruptcy Code, and List of Names and Addresses in Support of Petition for Recognition of

Foreign Proceeding in Compliance with Interim Rule 1007(a)(4) of the Federal Rules of

Bankruptcy Procedure. In support of the petition, the Foreign Representative alleges as follows:
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                                JURISDICTION AND VENUE

               1.      This Court has jurisdiction over this case ancillary to a foreign proceeding

pursuant to 28 U.S.C. §§1334(b) and 157(b)(2)(P).

               2.      Venue is properly located in this District pursuant to 28 U.S.C. §§

1410(2).

               3.      The statutory predicate for the relief requested herein is chapter 15 of title

11 of the United States Code including, section 1515 of the Bankruptcy Code.

                                             PARTIES

               4.      Pursuant to an order of the High Court of Justice (Bankruptcy Court) in

England (Case No. 306 of 2012) (the “Order”) dated March 26, 2012 (i) Kemsley was adjudged

bankrupt; and (ii) the Foreign Representative was appointed Joint Trustee in Bankruptcy for the

estate of Kemsley, under the Bankruptcy Law of England. A true copy of the Order is attached

hereto as Exhibit 1 and the appointment of the Foreign Representative is attached hereto as

Exhibit 2.

               5.      Kemsley is and at all times relevant was a citizen of England and the

center of his main interest is and was in England.

                                             ASSETS

               6.      Upon information and belief, Kemsley’s primary assets are in England and

the majority of Kemsley’s creditors are located in England.

               7.      Upon information and belief, Kemsley’s assets outside of England are his

salary, a potential joint interest in real property located at 3656 Carlton Place, Boca Raton,

Florida 33496 and other potential assets valued at de minimus amounts on Kemsley’s Statement

of Financial Affairs filed in the British insolvency proceeding. See Exhibit 1 annexed hereto.



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                    8.        The Foreign Representative is unaware of any other real or personal

property that Kemsley owns in the United States except as set forth above.

                  REQUEST FOR RECOGNITION OF FOREIGN PROCEEDING

                    9.        Bankruptcy Code section 1504 provides that “[a] case under this chapter is

commenced by the filing of a petition for recognition of a foreign proceeding under section

1515.”

                    10.       Bankruptcy Code section 15151 sets forth the procedural requirements for

filing a petition for recognition. Bankruptcy Code section 1516 2 sets forth presumptions Court

entitled make connection the petition. Together section 1515 and 1516 of the Bankruptcy Code

establish that the only proof necessary for the Court to grant the petition is that the petitioning


1
    11 U.S.C. § 1515. Application for recognition
           (a) A foreign representative applies to the court for recognition of a foreign proceeding in which the foreign
           representative has been appointed by filing a petition for recognition.
           (b) A petition for recognition shall be accompanied by—
                    (1) a certified copy of the decision commencing such foreign proceeding and appointing the
                    foreign
                    representative;
                    (2) a certificate from the foreign court affirming the existence of such foreign proceeding and of
                    the appointment of the foreign representative; or
                    (3) in the absence of evidence referred to in paragraphs (1) and (2), any other evidence acceptable
                    to the court of the existence of such foreign proceeding and of the appointment of the foreign
                    representative.
           (c) A petition for recognition shall also be accompanied by a statement identifying all foreign proceedings
           with respect to the debtor that are known to the foreign representative.
           (d) The documents referred to in paragraphs (1) and (2) of subsection (b) shall be translated into English.
           The court may require a translation into English of additional documents.
2
    11 U.S.C. § 1516. Presumptions concerning recognition
           (a) If the decision or certificate referred to in section 1515(b) indicates that the foreign proceeding is a
           foreign proceeding and that the person or body is a foreign representative, the court is entitled to so
           presume.
           (b) The court is entitled to presume that documents submitted in support of the petition for recognition are
           authentic, whether or not they have been legalized.
           (c) In the absence of evidence to the contrary, the debtor’s registered office, or habitual residence in the
           case of an individual, is presumed to be the center of the debtor’s main interests.


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foreign representative is a duly approved foreign representative in a foreign proceeding. This fact

may be established by certificates from the foreign court or certified copies of its decision. In

addition, this court may presume that these documents are genuine and that the foreign court’s

decision or certificate is factually correct.

                   11.      Section 1517 of the Bankruptcy Code3 provides that after notice and a

hearing the court shall enter an order recognizing a foreign proceeding if (1) such foreign

proceeding is a main proceeding; (2) the foreign representative applying for recognition is a

person; and (3) the petition meets the requirements of section 1515.

                   12.      Section 1517(b) provides that the foreign proceeding shall be recognized

as foreign main proceeding if it is pending in the country where the debtor has its center of main

interest.

                   13.      A “foreign proceeding” means “a collective judicial or administrative

proceeding in a foreign country, including an interim proceeding, under a law relating to

3
    11 U.S.C. § 1517. Order granting recognition
          (a) Subject to section 1506, after notice and a hearing, an order recognizing a foreign proceeding shall be
          entered if—
                   (1) such foreign proceeding for which recognition is sought is a foreign main proceeding or
                   foreign nonmain proceeding within the meaning of section 1502;
                   (2) the foreign representative applying for recognition is a person or body; and
                   (3) the petition meets the requirements of section 1515.
          (b) Such foreign proceeding shall be recognized—
                   (1) as a foreign main proceeding if it is pending in the country where the debtor has the center of
                   its main interests; or
                   (2) as a foreign nonmain proceeding if the debtor has an establishment within the meaning of
                   section 1502 in the foreign country where the proceeding is pending.
          (c) A petition for recognition of a foreign proceeding shall be decided upon at the earliest possible time.
          Entry of an order recognizing a foreign proceeding constitutes recognition under this chapter.
          (d) The provisions of this subchapter do not prevent modification or termination of recognition if it is
          shown that the grounds for granting it were fully or partially lacking or have ceased to exist, but in
          considering such action the court shall give due weight to possible prejudice to parties that have relied upon
          the order granting recognition. A case under this chapter may be closed in the manner prescribed under
          section 350.


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insolvency or adjustment of debt in which proceeding the assets and affairs of the debtor are

subject to control or supervision by a foreign court, for the purpose of reorganization, or

liquidation.” Bankruptcy Code § 101(23).

               14.     A “foreign main proceeding” means “a foreign proceeding pending in the

country where the debtor has the center of its main interest.” Bankruptcy Code § 1503(4).

Kemsley’s British insolvency proceeding qualifies as a foreign main proceeding because (a) the

majority of Kemsley’s assets are located in England, (b) virtually all of Kemsley’s creditors are

in England, (c) virtually all of Kemsley’s debts are subject to British law, and (d) Kemsley’s

status in the United States is temporary.

               15.     A “foreign representative” means “a person or body, including a person or

body appointed on an interim basis, authorized in a foreign proceeding to administer the

reorganization or the liquidation of the debtor’s assets or affairs or to act as a representative of

such foreign proceeding.” Bankruptcy Code § 101(24). The Foreign Representative qualifies as a

“foreign representative” under this definition.

               16.     The Petition meets all the requirements of Section 1517(a) of the

Bankruptcy Code and therefore the Court must grant the Petition and enter and order recognizing

Kemsley’s British insolvency proceeding as a foreign main proceeding.

                                             NOTICE

               17.     As set forth above, section 1517(a) of the Bankruptcy Code provides that

an order recognizing a foreign proceeding shall be entered “after notice and a hearing” where the

requirements of the statute are met. Section 102(A) of the Bankruptcy Code provides that the

phrase “after notice and a hearing” “means after such notice as is appropriate in the particular

circumstances.” Under section 102(B) of the Bankruptcy Code, no hearing is required if such



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notice is given properly and no hearing is requested by a party in interest. Notice of the petition

and the hearing will be given to Kemsley, through his counsel in New York, the Office of the

United States Trustee, Barclays Bank PLC, a United Kingdom entity which has asserted claims

in the British Bankruptcy and duplicate claims in the United States against Kemsley, and

Cosmos Ventures, Inc., which has asserted claims in the United States against Kemsley, through

their counsel in New York. The Foreign Representative knows of no other parties who have

asserted claims against Kemsley or an interest in any assets of Kemsley and thus submits such

notice is appropriate under the circumstances and that no additional or further notice is required

because the only United States person or entity alleging that it is a creditor of Kemsley is

Cosmos Ventures, Inc. No other known creditors or alleged creditors exist within the United

States.

               WHEREFORE, the Foreign Representative prays that this Court enter an order:

               (1)    Recognizing the British insolvency proceeding concerning Paul Zeital

Kemsley as a foreign main proceeding pursuant to section 1517 of the Bankruptcy Code;

               (2)    Commencing a case ancillary to the foreign main proceeding pursuant to

section 1504 of the Bankruptcy Code; and

               (3)    Granting the Foreign Representative such other and further relief as may

be appropriate, from time to time, pursuant to and accordance with Chapter 15 of the Bankruptcy

Code.




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Dated: New York, New York                        /s/ Edward E. Neiger
       August 21, 2012                          Edward E. Neiger, Esq.
                                                Marianna Udem, Esq.
                                                NEIGER LLP
                                                151 West 46th Street, 4th Floor
                                                New York, New York 10036
                                                Tel.: 212-267-7342
                                                Fax: 212-918-3427
                                                Attorneys for Mark R. Fry as Foreign
                                                Representative




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                                    EXHIBIT 1
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                                    EXHIBIT 2
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Attorneys for Mark R. Fry,
as Foreign Representative

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                              Case No: - __-_____

PAUL ZEITAL KEMSLEY,                               Chapter 15

               Debtor.


          LIST OF NAMES AND ADDRESSES IN SUPPORT OF PETITION
        FOR RECOGNITION IN COMPLIANCE OF FOREIGN PROCEEDING
           IN COMPLIANCE WITH INTERIM RULE 1007(a)(4) OF THE
               FEDERAL RULES OF BANKRUPTCY PROCEDURE
                       OF A FOREIGN PROCEEDING

               Mark R. Fry (hereinafter the “Foreign Representative”), the duly appointed

bankruptcy trustee in the British bankruptcy proceeding of Paul Zeital Kemsley, pursuant to

Bankruptcy Law of England, by and through his undersigned counsel, hereby submits a List of

Names and Addresses in Support of Petition for Recognition of Foreign Proceeding in

Compliance with Interim Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure.

               1.      Names and Addresses of all Administrators in Foreign Proceeding of the
                       Debtor.

                       Mark R. Fry
                       Kirstie Jane Provan
                       Begbies Traynor (Central) LLP
                       32 Cornhill, London, EC3V 3BT
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               2.       All parties to any Litigation in which Debtor is a Party and that is Pending
                        in the United States of America.

               The Foreign Representative is aware of only three litigation matters to which the

Debtor is a party in the United States of America.

      Paul Kemsley and Loretta Kemsley v. Harvey J. Mack and H J Mack Construction, LLC

       pending in the Supreme Court of the State of New York, County of New York, Index No.

       113121/2010.

      Barclays Bank PLC v. Paul Kemsley pending in the Supreme Court of the State of New

       York, County of New York, Index No. 650611/2012.

      Florida Cosmos Holdings LLC v. Cosmos Ventures, Inc. and Cosmos Ventures Inc., v.

       Florida Cosmos Holdings LLC, Paul Kemsley and Loretta Kemsley pending in the United

       States District Court for the Southern District of New York, Case No. 12-cv-1932.

               3.       All entities against whom provision relief is being sought under § 1519 of
                        the Code.

               At the present time, the Foreign Representative is not seeking provisional relief

against any entities.

Dated: New York, New York                              Edward E. Neiger
       August 21, 2012                                Edward E. Neiger, Esq.
                                                      Marianna Udem, Esq.
                                                      NEIGER LLP
                                                      151 West 46th Street, 4th Floor
                                                      New York, New York 10036
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                                                      Attorneys for Mark R. Fry as Foreign
                                                      Representative
